   Case 17-15942-MBK Doc 119 Filed 04/02/18 Entered 04/04/18 11:54:10                             Desc Main
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                                                                                  District of New Jersey




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                 DVFKHGXOHRIXQSDLGGHEWVLQFXUUHGDIWHUWKHFRPPHQFHPHQWRIWKHFDVHEXW
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